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                                     MEMO ENDORSED
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The Court is in receipt of Petitioner's request to have counsel appointed
to him for his appeal of the denial of his motion for compassionate release.
The Court recognizes that there is no right to counsel in connection with a
motion for compassionate release. See generally Coleman v. Thompson, 501
U.S. 722, 755-57 (1991) (discussing extension of criminal defendant’s
constitutional right to counsel only to the first appeal as of right);
Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (no right to counsel for
collateral attacks on a conviction or sentence); United States v. Myers, 524
F. App’x 758, 759 (2d Cir. 2013) (summary order) (noting that the Second
Circuit “[has] held that a defendant does not have a right to counsel under
the Sixth Amendment in a § 3582(c)(2) proceeding because that right ‘extends
only through the defendant’s first appeal’” (citing United States v.
Reddick, 53 F.3d 462, 464 (2d Cir. 1995))). The Court has considered the
applicable criteria for the discretionary appointment of counsel, see
Reddick, 53 F.3d at 465; Hodge v. Police Officers, 802 F.2d 58, 61-62 (2d
Cir. 1986), and has concluded that appointment of counsel is not
appropriate. Accordingly, Petitioner's request is DENIED. The Clerk of
Court is directed to terminate the motion at docket entry 355, and to mail a
copy of this Order to Petitioner.

Dated:   October 16, 2020                SO ORDERED.
         New York, New York



                                         HON. KATHERINE POLK FAILLA
                                         UNITED STATES DISTRICT JUDGE
